                   Case 3:16-cr-00348-WKW-KFP Document 504 Filed 10/19/17 Page 1 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
                      Sheet I



                                         UNITED STATES DISTRICT COURT
                                                           Middle District of Alabama

              UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                  V.

                MELVIN JOHN WILLIAMS, JR.                                           Case Number: 3:16cr348-12-WKW

                                                                                    USM Number: 16955-002

                                                                                     David Vickers
                                                                                    Defendant's Attorney
THE DEFENDANT:

!?i pleaded guilty to Count(s)         is of the Superseding Indictment on 6/2/2017

El pleaded nolo contendere to Count(s)
   which was accepted by the court.
El was found guilty on count(s)         -
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended                Count
 21:846; 841(b)(1)(C)             Conspiracy to Possess with Intent to Distribute a                           712012016

                                       Controlled Substance



       The defendant is sentenced as provided in pages 2 through                7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
El The defendant has been found not guilty on count(s)
El Count(s)                                              El is     El are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fufly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          10/18/2017
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                          W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                         Name and Title of Judge


                                                                                1t9/rq/11
                                                                         Date
                    Case 3:16-cr-00348-WKW-KFP Document 504 Filed 10/19/17 Page 2 of 7
AO 245B (Rev. 11/16) Judgment in Criminal Case
                      Sheet 2 Imprisonment
                                                                                                      Judgment - Page        2   of   7
 DEFENDANT: MELVIN JOHN WILLIAMS, JR.
 CASE NUMBER: 3:16cr348-12-WKW

                                                             IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
            15 months.




     LI The court makes the following recommendations to the Bureau of Prisons:




            The defendant is remanded to the custody of the United States Marshal,

     LI The defendant shall surrender to the United States Marshal for this district:

            Li at                                 LI a.m.       LI pm.      on
            Li as notified by the United States Marshal.

     Li The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            LI before 2 p.m. on

            LI as notified by the United States Marshal.

            LI as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
 1 have executed this judgment as follows:




            Defendant delivered on                                                       to

a                                                     with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL
                   Case 3:16-cr-00348-WKW-KFP Document 504 Filed 10/19/17 Page 3 of 7

AO 245B (Rev. 11/16) Judgment in a Criminat Case
                      Sheet 3 - Supervised Release
                                                                                                     Judgment—Page     3    of        7
DEFENDANT: MELVIN JOHN WILLIAMS, JR.
CASE NUMBER: 3:16cr348-12-WKW
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 5 years.




                                                     MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              The above drug testing condition is suspended, based on the court's determination that you
              pose a low risk of future substance abuse. (check fapplicable)
4.     You must cooperate in the collection of DNA as directed by the probation officer. (check f applicable)
5 You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el seq.) as
       directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
       reside, work, are a student, or were convicted of a qualifying offense. (check f applicable)
6.  0 You must participate in an approved program for domestic violence. (check .f applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AU 245B (Rev. 11116) Judgment in a Criminal Case
                     Sheet 3A - Supervised Release
                                                                                               Judgment—Page        4        of         7
DEFENDANT: MELVIN JOHN WILLIAMS, JR.
CASE NUMBER: 3:16cr348-12-WKW

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior white on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed,
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: www.uscourts.gov .


Defendant's Signature                                                                                    Date
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AU 245B(Rev. 11/16)   Judgment in a Criminal Case
                      Sheet 3D - Supervised Release
                                                                                             Judgment—Page    5     of         7
DEFENDANT: MELVIN JOHN WILLIAMS, JR.
CASE NUMBER: 3:16cr348-12-WKW

                                        SPECIAL CONDITIONS OF SUPERVISION

 Defendant shall participate in a program approved by the United States Probation Office for substance abuse as directed,
 which will include testing to determine whether he has reverted to the use of drugs. He shall contribute to the cost of any
 treatment based on ability to pay and the availability of third-party payments.

 Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this Court.
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AO 245B (Rev. 11116) Judgment in a Criminal Case
                      Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment—Page            6     of        7
 DEFENDANT: MELVIN JOHN WILLIAMS. JR.
 CASE NUMBER: 3:16cr348-I2-WKW
                                               CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                    JVTA Assessment*                Fine                      Restitution
 TOTALS             $ 100.00                    $                               $                         $


 El The determination of restitution is deferred until                    An Amended Judgment in a Criminal Case (40 245C) will be entered
     after such determination.

 El The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Pa yee                                                    Total Loss**            Restitution Ordered              Priority or Percentage




TOTALS                               S                         0.00         $                       S's



 El Restitution amount ordered pursuant to plea agreement S

 El The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fill before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f), All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 El The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       El the interest requirement is waived for the          El fine El restitution.
       El the interest requirement for the          El fine     0 restitution is modified as follows:

 ' Justice for Victims of Trafficking Act of 2015, Pub. L, No. 114-22.
    Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                   Case 3:16-cr-00348-WKW-KFP Document 504 Filed 10/19/17 Page 7 of 7
AO 245B (Rev. I 1/16) Judgment in a Criminal Case
                      Sheet 6 - Schedule of Payments
                                                                                                               Judgment - Page       7      of           7
 DEFENDANT: MELVIN JOHN WILLIAMS, JR.
 CASE NUMBER: 3:1 6cr348-1 2-WKW

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of S 100.00                        due immediately, balance due

            El not later than                           , or
                  in accordance with         C, El D, El E, or                  El F below; or

 B El Payment to begin immediately (may be combined with                     El C,        El D, or El F below); or

 C     El Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to  commence                       (e.g., 30 or 60 days) after the date of this judgment;  or

 D     El Payment in equal                       (e.g., weekly, monthly, quarterly) installments of S                          over a period of
               _______ (e.g., months or years), to commence                        (e.g.. 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E     El Payment during the term of supervised release will commence within                   (e.g.. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     0 Special instructions regarding the payment of criminal monetary penalties:
             All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of
             Alabama, Post Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 El Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 El The defendant shall pay the cost of prosecution.

 El The defendant shall pay the following court cost(s):

 El The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
